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                     IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF COLUMBIA

 ERIC SWALWELL,                              Case No. 1:21-cv-00586-APM
                            Plaintiff,

          v.

 DONALD J. TRUMP, et al.,

                            Defendants.




 BRIEF OF AMICI CURIAE FLOYD ABRAMS, ERWIN CHEMERINSKY, MARTHA
    MINOW, AND LAURENCE H. TRIBE IN SUPPORT OF THE PLAINTIFFS




                                          STEVEN A. HIRSCH - #171825
                                          shirsch@keker.com
                                          NIC MARAIS - # 277846
                                          nmarais@keker.com
                                          Counsel of Record
                                          MATAN SHACHAM - #262348
                                          mshacham@keker.com
                                          Keker, Van Nest & Peters LLP
                                          633 Battery Street
                                          San Francisco, CA 94111-1809
                                          Telephone:       415 391 5400
                                          Facsimile:       415 397 7188

                                          Attorneys for Amici Curiae Floyd Abrams,
                                          Erwin Chemerinsky, Martha Minow, and
                                          Laurence H. Tribe




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I.        STATEMENT OF INTEREST1
          Amici curiae are Constitutional and First Amendment scholars and practitioners who

have an interest in the courts’ striking an appropriate balance between, on the one hand, the First

Amendment rights of free speech, association, and petition, and on the other, the government’s

ability to carry out its functions—which include preventing the political intimidation of federal

officials, voters, and those who seek to support and advocate for candidates for federal office.2

          Floyd Abrams is Senior Counsel at Cahill Gordon & Reindel in New York, a Visiting

Lecturer at Yale Law School, and a Lecturer in Law at Columbia Law School. For 15 years he

taught as well at the Columbia Graduate School of Journalism as the Willian J. Brennan Jr.

Visiting Lecturer in First Amendment law. For the last half century he has been counsel or co-

counsel in numerous First Amendment cases of note including, among others, New York Times

Co. v. United States (Pentagon Papers Case), 403 U.S. 713 (1971); Landmark Communications

Inc. v. Virginia, 435 U.S. 829 (1978); Smith v. Daily Mail Publishing Co., 443 U.S. 97 (1979);

Herbert v. Lando, 441 U.S. 153 (1979); McConnell v. Federal Election Commission, 540 U.S.

93 (2003); and Citizens United v. Federal Election Commission, 558 U.S. 310 (2010). He has

written three books about the First Amendment—Speaking Freely: Trials of the First

Amendment (2005); Friend of the Court: On the Front Lines with the First Amendment (2013);

and The Soul of the First Amendment (2017). He has published numerous articles about the First

Amendment and received numerous awards for his work in the area.

          Erwin Chemerinsky is the Dean of the University of California Berkeley School of

Law, where he holds the title of Jesse H. Choper Distinguished Professor of Law. He frequently

argues appellate cases, including in the United States Supreme Court. He is the author of 14

books, including leading casebooks and treatises about constitutional law, criminal procedure,

1
  No party’s counsel authored this brief in whole or in part; and no person, party, or party’s
counsel contributed money that was intended to fund preparing or submitting this brief, which
was prepared on a pro bono basis.
2
  Amici have moved the Court under Local Civil Rule 7(o)(2) for an order granting leave to file
this brief.


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and federal jurisdiction, and has authored over 200 law-review articles. His most recent books

are Presumed Guilty: How the Supreme Court Empowered the Police and Subverted Civil Rights

(2021) and The Religion Clauses: The Case for Separating Church and State (2020) (with

Howard Gillman). In 2017, National Jurist magazine again named Dean Chemerinsky as the

most influential person in legal education in the United States. In 2016, he was named a fellow

of the American Academy of Arts and Sciences.

          Martha Minow is the 300th Anniversary University Professor at Harvard University and

former dean of Harvard Law School. She is the author or editor of 18 books and has authored

over 200 law-review articles. Her most recent books are Saving the News: Why the Constitution

Calls for Government Action to Preserve Freedom of Expression (2021) and When Should Law

Forgive? (2019). Her many public lectures include the 2017 Alexander Meikeljohn Lecture on

the First Amendment at Brown University. A fellow of the American Academy of Arts and

Sciences and a fellow of the American Philosophical Society, she has received nine honorary

degrees from universities in three nations as well as numerous awards, including the Sacks-

Freund Award for Excellence in Teaching, Harvard Law School. She currently serves on the

board of public media entity GBH, and previously served on the board of the CBS Corporation.

          Laurence H. Tribe is the Carl M. Loeb University Professor and Professor of

Constitutional Law Emeritus at Harvard. He has written over 115 articles and books, including

his treatise, American Constitutional Law, cited more than any other legal text since 1950. He

has prevailed in numerous cases that he argued in the U.S. Supreme Court, including the

following First Amendment cases: United States v. United Foods, 533 U.S. 405 (2001) (First

Amendment precludes forcing mushroom growers to pay for generic advertising campaign

unrelated to substantive regulation of mushroom market); Sable Communications of California,

Inc.. v. FCC, 492 U.S. 115 (1989) (Congress may not abolish non-obscene “dial-a-porn” services

where methods of keeping children from accessing such services are not shown to be

unavailable); Board of Education of Oklahoma City v. National Gay Task Force, 470 U.S. 903

(1985) (First Amendment protects gay-rights advocacy in public schools); Richmond


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Newspapers v. Virginia, 448 U.S. 555 (1980) (press and public have right to attend criminal

trials). He also prevailed without argument in Boston v. Anderson, 439 U.S. 951, 1389 (1978)

(state court may not prohibit free speech by municipality on referendum issue pending before the

people in statewide election). Professor Tribe helped write the constitutions of South Africa, the

Czech Republic, and the Marshall Islands. He was elected to the American Academy of Arts and

Sciences in 1980 and was elected to the American Philosophical Society in 2010. He holds 11

honorary degrees.

II.       INTRODUCTION
          The defendants in all three January 6 Suits3 pending before this Court have moved the

Court to dismiss claims that the plaintiffs have asserted under 42 U.S.C. § 1985(1), originally

part of the Ku Klux Klan Act of 1871. Broadly speaking, § 1985(1) creates a civil cause of action

against persons who conspire to use force, intimidation, or threats to prevent federal officials

from carrying out their duties. The defendants argue that § 1985(1), at least as applied here,

violates their First Amendment right to engage in “political speech.” Amici believe that it is

important not only to reject plaintiffs’ spurious and thinly developed First Amendment defenses,

but to do so on grounds that preserve the effectiveness of political-intimidation statutes

generally.

          Section 1985(1) is one of a suite of political-intimidation statutes enacted at critical

turning points in the nation’s history—the post-Civil War Reconstruction and the civil-rights

movement of the 1950s and 1960s. Among other things, these statutes prohibit threatening

federal officials to prevent them from carrying out their duties, threatening citizens to prevent

them from voting freely, and threatening anyone for supporting or failing to support federal

candidates. To say that these statutes were hard-won would be a gross understatement. It took the

3
  Throughout this brief, (1) “January 6 Suits” refers collectively to Thompson v. Trump, No.
1:21-cv-00400-APM, Swalwell v. Trump, No. 1:21-cv-00586-APM, and Blassingame v. Trump,
No. 1:21-cv-00858-APM; (2) unless otherwise indicated, emphases were added to quotations and
internal punctuation, footnotes, and citations were omitted from them; and (3) for convenience,
we refer to 42 U.S.C. §§ 1985(1) and 1985(3) as “statutes,” although they are actually clauses of
the same statute.


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bloodiest war of the Nineteenth Century and a violently opposed civil-rights movement to put

these laws on the books.

          Because the political-intimidation statutes share common terms that implicate speech—

“conspire,” “intimidate,” “threat”—they are collectively vulnerable to erosion by inapt

interpretations and applications of the First Amendment. Here, for example, the defendants assert

that the plaintiffs’ § 1985(1) claims cannot survive First Amendment scrutiny unless they fall

within one of two carefully circumscribed exceptions to First Amendment coverage: the

“incitement” exception for speech that is “directed to inciting or producing imminent lawless

action and is likely to incite or produce such action,” Brandenburg v. Ohio, 395 U.S. 444, 447

(1969), and the “true threat” exception, which denies First Amendment protection to “statements

where the speaker means to communicate a serious expression of an intent to commit an act of

unlawful violence to a particular individual or group of individuals.” Virginia v. Black, 538 U.S.

343, 359–60 (2003). Amici do not dispute that the incitement and true-threat exceptions apply to

the facts alleged in the January 6 Suits. But many modern forms of political intimidation do not

involve inciting imminent lawless action or threatening to inflict physical violence; and there is

uncertainty about the degree of intent that a litigant must prove in order to invoke the true-threat

exception. Although both exceptions very likely apply here, a ruling that limited the political-

intimidation statutes to those circumscribed scenarios would sharply curtail the reach of these

statutes at a time when voting, and the public officials who administer voting, are under

relentless partisan attack—as the facts of January 6 attest.

          Amici therefore suggest that, in addition to determining whether the incitement and true-

threat exceptions apply here, the Court should rely upon the long-recognized, categorical

exception to First Amendment coverage for speech that is integral to the commission of a crime

or tort—speech, in other words, that is the very vehicle by which a crime or tort is committed.

That exception is peculiarly appropriate here, where the speech in question is integral to

antidemocratic conduct that federal law has proscribed for 150 years. Below, amici accordingly

urge the Court to apply a categorical First Amendment exception for speech integral to the forms


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of political intimidation proscribed by § 1985(1). We believe that this approach not only accords

with relevant First Amendment principles but also helps to ensure the continued efficacy of the

nation’s legal infrastructure for controlling political intimidation. As the facts of January 6 make

clear, that infrastructure is as important to the survival of our democracy as it has ever been.

III.      ARGUMENT

          A.     Section 1985(1) is one of a suite of statutes, developed since the Civil War,
                 prohibiting acts of political intimidation that sometimes are carried out by
                 means of speech.
          Section 1985(1) is one of a suite of political-intimidation statutes, enacted between 1871

and 1965, encompassing the intimidation of federal officials and voters. Each of these statutes

targets the use, or threat to use, coercion to intimidate federal officials or voters or both. Since

each of these statutes contains terms describing forms of intimidation that are sometimes carried

out by means of speech—i.e., “conspire,” “intimidate,” “threaten”—they are all potentially

vulnerable to ill-considered First Amendment defenses.

          Federal-official intimidation. 42 U.S.C. § 1985(1), originally part of the Ku Klux Klan

Act of 1871 (“Klan Act”), protects federal officials from intimidation aimed at preventing them

from carrying out their duties—including, in this case, the duty of Congresspersons under the

Twelfth Amendment and the Electoral Count Act of 18874 to engage in the process of certifying
the Electoral College vote. Section 1985(1) thus creates a civil cause of action (including a

damages remedy) against persons who

                 conspire [1] to prevent, by force, intimidation, or threat, any
                 person from accepting or holding any office, trust, or place of
                 confidence under the United States, or from discharging any duties
                 thereof; or [2] to induce by like means any officer of the United
                 States to leave any State, district, or place, where his duties as an
                 officer are required to be performed, or [3] to injure him in his
                 person or property on account of his lawful discharge of the duties
                 of his office, or while engaged in the lawful discharge thereof, or
                 [4] to injure his property so as to molest, interrupt, hinder, or
                 impede him in the discharge of his official duties . . . .5

4
    3 U.S.C. § 15.
5
    Bracketed numbers added.


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Notably, the “force, intimidation, or threat” requirement, potentially implicating speech, applies

only to clauses [1] and [2]; it is absent from the “injury” clauses, [3] and [4]. See Stern v. U.S.

Gypsum, Inc., 547 F.2d 1329, 1336 (7th Cir. 1977). A criminal counterpart to § 1985(1) exists at

18 U.S.C. § 372.

          Voter intimidation. Three federal statutory provisions create civil causes of action for

voter intimidation.6

          1.     42 U.S.C. § 1985(3), another provision that was originally part of the Klan Act,

features two so-called “support-or-advocacy clauses.”7 The first such clause protects voters from

intimidation aimed at preventing them from giving support or advocacy to electors or candidates

in federal elections. (Henceforth, we will use the shorthand “§ 1985(3)” to refer to this first

support-or-advocacy clause.) Section 1985(3)—which, like § 1985(1), is phrased as a conspiracy

statute—creates a civil cause of action, including a damages remedy, against persons who

                 conspire to prevent by force, intimidation, or threat, any citizen
                 who is lawfully entitled to vote, from giving his support or
                 advocacy in a legal manner, toward or in favor of the election of
                 any lawfully qualified person as an elector for President or Vice
                 President, or as a Member of Congress of the United States.
          2.     Unlike §§ 1985(1) and 1985(3) of the Klan Act, § 131(b) of the Civil Rights Act

of 1957, 52 U.S.C. § 10101(b), does not require proof of a conspiracy. Instead, it provides:

                 No person, whether acting under color of law or otherwise, shall
                 intimidate, threaten, coerce, or attempt to intimidate, threaten, or
                 coerce any other person for the purpose of interfering with the
                 right of such other person to vote or to vote as he may choose, or
                 of causing such other person to vote for, or not to vote for, any
                 candidate for [federal] office . . . .
          3.     Another voter-intimidation statute gaining increasing attention in voting-rights

circles is § 11(b) of the Voting Rights Act of 1965, 52 U.S.C. § 10307(b).8 Section 11(b)


6
  Ben Cady & Tom Glazer, Voters Strike Back: Litigating Against Modern Vote Intimidation, 39
N.Y.U. REV. OF L. & SOCIAL CHANGE 173, 177 n.17 (2015) [hereinafter Voters Strike Back].
7
  See Richard Primus & Cameron O. Kistler, The Support-or-Advocacy Clauses, 89 FORDHAM L.
REV. 145, 156 (2020) (identifying the support-or-advocacy clauses).
8
  See Voters Strike Back at 176–77.


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prohibits the intimidation both of voters and of public officials engaged in vindicating voting

rights:
                 No person, whether acting under color of law or otherwise, shall
                 intimidate, threaten, or coerce, or attempt to intimidate, threaten,
                 or coerce any person for voting or attempting to vote, or
                 intimidate, threaten, or coerce, or attempt to intimidate, threaten,
                 or coerce any person for urging or aiding any person to vote or
                 attempt to vote, or intimidate, threaten, or coerce any person for
                 exercising any powers or duties under [federal laws relating to
                 election monitoring and litigation].
          In passing these laws, “Congress act[ed] with a keen awareness of history.” Ben Cady &

Tom Glazer, Voters Strike Back: Litigating Against Modern Vote Intimidation, 39 N.Y.U. REV.
OF L. & SOCIAL CHANGE 173, 182 (2015) [hereinafter Voters Strike Back]. Congress “understood

itself to be correcting the nation’s past mistakes iteratively, by building and expanding on

solutions it had tried before but had not quite gotten right.” Id. at 181–82. Of particular note,

Congress passed the Klan Act in 1871 during Reconstruction and passed the Voting Rights Act

during the civil-rights era of the 1960s. “These were defining national episodes. And these

statutes were correspondingly ambitious in scope, seeking a real way to define the terms of

national citizenship. In doing so, these laws grappled directly with the long history of exclusion

in American politics.” Id. at 181.

          During Reconstruction, when the Klan Act became law, “sweeping changes” in the

ability of African Americans to vote and hold office prompted southern whites to respond with a

“sustained campaign of voter intimidation through terrorism and violence,” directed not only at

African Americans but also at white Republicans and Union sympathizers. Voters Strike Back at

184–85; see also Note, The Support or Advocacy Clause of § 1985(3), 133 HARV. L. REV. 1382,

1389 (2020). “During the debates over the Klan Act, the bill’s supporters repeatedly described

the reign of terror imposed by the Klan upon black citizens and their white sympathizers in the

southern states. These violent acts went unpunished, legislators asserted, because Klan members

and sympathizers were powerful enough that law enforcement would not arrest them, juries




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refused to convict, and judges would not hold fair trials.”9 Nicholas Mosvick, Looking Back at

the Ku Klux Klan Act, CONSTITUTION DAILY, NATIONAL CONSTITUTION CENTER (Apr. 20, 2021).

The Act’s overall purpose, therefore, was “to protect individuals’ rights of national citizenship,

including the right to vote,” and its supporters understood that its provisions creating a wide

range of federal penalties “entailed a newly expansive view of federal power.” Voters Strike

Back at 1985–86. “By 1872, the federal government’s evident willingness to bring its legal and

coercive authority to bear had broken the Klan’s back and produced a dramatic decline in

violence throughout the South.” ERIC FONER, RECONSTRUCTION: AMERICA’S UNFINISHED
REVOLUTION 617 (updated ed. 2014) [hereinafter RECONSTRUCTION].

          But Reconstruction ended in 1877 with a political compromise to resolve the contested

1876 presidential election. Voters Strike Back at 1985–86. As part of that compromise, federal

troops stationed in the South were ordered to withdraw from southern political affairs. Id. At that

point, the entire nation—North and South—effectively colluded to abandon the fate of its black

citizens to those who would abolish their democratic rights. See generally RECONSTRUCTION at

762–94.

          Southern states rushed into the void, again erecting barriers to black voters and ushering

in the Jim Crow era. Voters Strike Back at 187. Post-Reconstruction, “an elaborate system of poll

taxes, literacy tests, grandfather clauses, and other discriminatory policies barred many African

Americans from even registering to vote.” Id. at 187. In response, Congress enacted the Civil

Rights Act of 1957 as “a compromise measure designed to pass through Congress without

driving a wedge between the Northern and Southern factions of both parties.” Id. at 188.

Although § 131(b) (quoted above) barred interference with the right to vote in all federal

elections, the law was hobbled by lack of federal enforcement power and a judicially imposed

requirement that claims be supported by a showing of “purposeful discrimination.” Id. at 189.




9
    Available at https://constitutioncenter.org/blog/looking-back-at-the-ku-klux-klan-act.


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          The South’s violent (and televised) response to the 1960s civil-rights movement altered

the political landscape, giving impetus to the Voting Rights Act of 1965. Id. at 189–90. Section

11(b) represented “a deliberate attempt to expand the existing laws against voter intimidation” by

eliminating § 131(b)’s requirement of purposeful racial discrimination. Id.; see League of United

Latin Am. Citizens v. Public Interest Legal Found., No. 1:18-cv-00423, 2018 WL 3848404, at *3

(E.D. Va. Aug. 13, 2018) (contrasting §§ 11(b) and 131(b) to establish that § 11(b) doesn’t

require proving racial animus or specific intent to intimidate). And unlike the Klan Act, § 11(b)

requires no proof of a conspiracy. Id. at 192.

          The statute at issue in the January 6 Suits—§ 1985(1)—thus should be viewed as part of a

powerful suite of statutes that plays a vital role in stamping out all forms of political

intimidation, old and new. But all four statutes remain potentially vulnerable to the type of

excessively protective and legally erroneous First Amendment defenses raised in this case. In

particular, all four statutes refer to intimidation (a type of conduct often carried out through the

use of speech)10 and to threat (a type of conduct nearly always carried out through the use of
speech).11 And both Klan Act provisions (§§ 1985(1) and 1985(3)) additionally require proof of

conspiracy—again, conduct effectuated through speech, using the mechanism of a conspiratorial

agreement. See generally Voters Strike Back at 206.

          Under an expansive application of the “whole code canon” of statutory interpretation,

courts might hold that these shared terms should be construed consistently, even across different

acts or titles of the United States Code. See Buckeye Check Cashing, Inc. v. Cardegna, 546 U.S.

440, 448 n.3 (2006); see also Voters Strike Back at 195 n.143 (suggesting that § 1985(1) is in

pari materia with §§ 11(b) and 131(b)). And on that basis, courts might apply the same ill-

10
   To “intimidate” is “to make timid or fearful; inspire or affect with fear; frighten, especially to
compel action or inaction (as by threats).” Voters Strike Back at 196–97 (quoting WEBSTER’S
THIRD NEW INTERNATIONAL DICTIONARY 1184 (1961)).
11
   A “threat” is “an expression of an intention to inflict evil, injury, or damage on another,
usually as punishment for something done or left undone.” Voters Strike Back at 197 (quoting
WEBSTER’S THIRD NEW INTERNATIONAL DICTIONARY 2382 (1961)).




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considered defenses—rooted in a misreading of the First Amendment—to each of the political-

intimidation statutes. Thus, the way the Court approaches the defendants’ First Amendment

defenses in this case could have repercussions for the entire suite of political-intimidation

statutes—not just § 1985(1).

          B.     Although they likely apply here, the incitement and true-threat exceptions to
                 First Amendment protection are too narrow to preserve the effectiveness of
                 the political-intimidation statutes.
          The political-intimidation statutes’ shared references to conduct that is typically carried

out through speech (“conspire,” “intimidate,” “threaten”) enable future defendants to argue—as

the defendants here do—that cases brought under these statutes violate the First Amendment

unless the facts of the case can be shoehorned into either of two closely cabined First

Amendment exceptions: the Brandenburg “incitement” exception and the so-called “true threat”

exception. Although both exceptions very likely apply here, a ruling that limited the political-

intimidation statutes to those circumscribed scenarios would sharply curtail the reach of these

statutes at a time when they have never been more important.

          Under the incitement exception, speech lacks First Amendment protection if it was

“directed to inciting or promoting imminent lawless action and [was] likely to incite or produce

such action.” Brandenburg, 395 U.S. at 447. Under the true-threat exception, no First

Amendment protection attaches to “statements where the speaker means to communicate a

serious expression of an intent to commit an act of unlawful violence to a particular individual or

group of individuals.” Virginia v. Black, 538 U.S. at 359–60. This prohibition on true threats

“protects individuals from the fear of violence and from the disruption that fear engenders, in

addition to protecting people from the possibility that the threatened violence will

occur.” Id. “Intimidation in the constitutionally proscribable sense of the word is a type of true

threat, where a speaker directs a threat to a person or group of persons with the intent of placing

the victim in fear of bodily harm or death.” Id.




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          Amici harbor little doubt that § 1985(1), as applied to the facts of the January 6

insurrection, falls within the incitement and true-threat exceptions; and we expect that the

plaintiffs in those litigations will be able to establish as much. But that is not all that the Court

should say on the subject, because many forms of modern political intimidation do not fall into

either exception, and a judicial opinion that made those exceptions the test of whether political

intimidation can be punished could have unintended consequences harmful to our democracy.

          Although the January 6 insurrection may be the most spectacular example of incitement

and “true threat” in American history, modern political intimidation often takes subtler forms

that these statutes can address effectively—if they do not become neutered by a mistaken

application of First Amendment principles. Today, for example, “voters are rarely overtly

threatened with physical or economic harm as they were during the civil rights era; instead,

voters are deterred from voting through subtler tactics, such as aggressive poll-watching,

anonymous threats of harm, frivolous and excessive voter registration challenges, and coercion

by employers.” Voters Strike Back at 178; see also id. at 215–25. Modern political intimidation

embraces a wide and ever-expanding range of coercive tactics, including onsite voter harassment

and legally baseless offsite threats of legal harm. Id. at 214; see, e.g., United States v. Nguyen,

673 F.3d 1259 (9th Cir. 2012) (concerning threats of adverse immigration actions); Nat’l

Coalition on Black Civic Participation v. Wohl, 498 F. Supp. 3d 457, 465 (S.D.N.Y. 2020)

(concerning robocall threats that mail-in voters would face adverse actions by police and credit-

card companies, as well as mandatory vaccinations). Section 11(b), in particular, places in the

hands of both voters and federal officials a potentially powerful weapon for challenging and

overcoming these “softer” forms of political intimidation.

          Confining the efficacy of these statutes to cases in which plaintiffs can prove an intent to

incite imminent lawlessness or to credibly threaten violence against a specific person or group

would deal a devastating blow to Congress’s successive and increasingly effective attempts to

eliminate political intimidation. For example, because the incitement exception traditionally has




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been restricted to advocacy before an audience,12 it may lack relevance to any “secret plotting”

that went on beforehand. And the true-threat exception poses a particular risk to the political-

intimidation statutes, as a circuit split exists on the question whether the exception merely

requires proof that a reasonable observer would perceive the threat as real, or also requires proof

that the speaker subjectively intended the speech to be taken as a threat. See Voters Strike Back at

209–10. If the latter position were to prevail, the true-threat exception could work to undermine

important statutory protections for our democratic system. See id. at 208 (observing that true-

threat ruling in Virginia v. Black “presents a potential difficulty for § 11(b), as Congress

apparently meant to prohibit intimidation that occurs without regard to the speaker’s intent.”). In

addition, the courts have not settled whether the true-threat exception covers threats of

nonviolent or nonphysical harm. See Wohl, 498 F. Supp. 3d at 479.

          The incitement and true-threat exceptions almost certainly apply here; but they are not

enough on their own. A better approach would set the political-intimidation statutes on firmer

constitutional ground, the better to safeguard American democracy. Amici suggest such an

approach below.

          C.     The Court’s ruling on the defendants’ motions to dismiss should clarify that
                 § 1985(1), like the other political-intimidation statutes, proscribes speech that
                 falls within the historically unprotected category of “speech integral to a
                 crime or tort.”
          The Court’s ruling on the defendants’ First Amendment defenses to the plaintiffs’

§ 1985(1) claims will have to grapple with the application of the incitement and true-threat

exceptions to First Amendment coverage. But the political-intimidation statutes are

constitutionally defensible on broader grounds that we set forth below.

          The protections afforded by the First Amendment “are not absolute,” and the Supreme

Court has “long recognized that the government may regulate certain categories of expression”

that “are ‘of such slight social value as a step to truth that any benefit that may be derived from

12
 See KEITH WERHAN, FREEDOM OF SPEECH: A REFERENCE GUIDE TO THE UNITED STATES
CONSTITUTION 66 (2004).


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them is clearly outweighed by the social interest in order and morality.’” Virginia v. Black, 538

U.S. at 358–59 (quoting Chaplinsky v. New Hampshire, 315 U.S. 568, 571–72 (1942)). These

“content-based restrictions on speech have been permitted, as a general matter, only when

confined to the few historic and traditional categories of expression long familiar to the bar.

Among these categories are . . . speech integral to criminal conduct.” United States v. Alvarez,

567 U.S. 709, 717 (2012).13

          The leading case on this “integral-speech exception” to First Amendment coverage is

Giboney v. Empire Storage & Ice Co., 336 U.S. 490 (1949). In an often-cited opinion, the

Supreme Court rejected “the contention that conduct [that is] otherwise unlawful is always

immune from state regulation [merely] because an integral part of that conduct is carried on by”

means of speech. Id. at 498.

          Following Giboney, courts repeatedly have held that making a “course of conduct” illegal

“has never been deemed an abridgment of freedom of speech . . . merely because the conduct

was in part initiated, evidenced, or carried out by means of language, either spoken, written, or

printed.” Cox v. Louisiana, 379 U.S. 559, 563 (1965) (quoting Giboney, 336 U.S. at 502)). Thus,

“[i]t rarely has been suggested that the constitutional freedom for speech . . . extends its

immunity to speech or writing used as an integral part of conduct in violation of a valid criminal

statute.” New York v. Ferber, 458 U.S. 747, 761–62 (1982) (quoting Giboney, 336 U.S. at 498).

“Put another way, speech is not protected by the First Amendment when it is the very vehicle of

the crime itself.” United States v. Rowlee, 899 F.2d 1275, 1278 (2d Cir. 1990). For example, the

fact that aiding and abetting an illegal act “may be carried out through speech” is “no bar to its

illegality.” Nat’l Org. for Women v. Operation Rescue, 37 F.3d 646, 656 (D.C. Cir. 1994). The

exception applies not only to speech integral to proscribed criminal conduct but also to speech

integral to civilly actionable conduct. See Rumsfeld v. FAIR, 547 U.S 47, 62 (2006).


13
  The Court should not construe our use of this quotation as a concession that all or any of the
political-intimidation statutes enact content-based speech restrictions, a question better left for
another day.


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          Examples of speech integral to a recognized crime or tort abound. In the United States, a

person may be guilty of a crime if he or she, for example, (1) agrees with or offers to agree with

another to commit, requests another to commit, orders another to commit, threatens harm unless

another commits, or otherwise induces another to commit, a crime; (2) puts another in fear of

imminent serious injury by physical menace; (3) participates in a criminal endeavor by

communicating—for example, by telling thieving friends the combination of the employer’s

safe; (4) warns a criminal how to escape from the police; (5) threatens harm if someone does not

turn over his or her wallet, submit to intercourse, or perform some other act that he or she is free

not to perform; (6) offers to bribe someone or offers to receive a bribe for performing an act that

should be performed, if at all, free of inducements; (7) successfully encourages someone to

commit suicide; (8) entices a child from custody; (9) perjures himself or engages in other

falsehoods with respect to officials; (10) acquires property or some other material advantage by

deception; or (11) falsely pretends to hold a position in public service with the aim of getting

someone else to submit to pretended authority or act otherwise to his or her prejudice. 1 RODNEY
A. SMOLLA, SMOLLA AND NIMMER ON FREEDOM OF SPEECH § 10.35, at 10-42.30–10-42.31

(2021) (citing KENT GREENAWALT, SPEECH, CRIME, AND THE USES OF LANGUAGE 6–7 (1989)).

Speech is likewise integral to many recognized torts. A person may commit an actionable tort by

making fraudulent representations with the intent that they be relied upon, by defaming someone,

by inducing a contracting party to break their contract, by making statements that intentionally

inflict severe emotional distress, and by many other means.

          At first glance, then, the reach of the historical integral-speech exception would appear to

be broad. But courts and commentators alike have observed that it would be “fatally

circular”14—and destructive of First Amendment protections—to hold that speech is unprotected

merely because some law pronounces it illegal or tortious, thereby making it “integral” to a


14
  United States v. Weiss, 475 F. Supp. 3d 1015, 1033 (N.D. Cal. 2020); see also Matter of
Welfare of A. J. B., 929 N.W.2d 840, 853 (Minn. 2019); State v. Shackelford, 825 S.E.2d 689,
703 (N.C. App. 2019) (Murphy, J., concurring).


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crime or tort. In other words, the integral-speech exception “can’t justify treating speech as

‘integral to illegal conduct,’” and thus unprotected, “simply because the speech is illegal under

the law that is being challenged. That should be obvious, since the whole point of modern First

Amendment doctrine is to protect speech against many laws that make such speech illegal.”

Eugene Volokh, The Speech Integral to Criminal Conduct Exception, 101 CORNELL L. REV. 981,

987 (2016) [hereinafter Speech Integral]. This conclusion flows ineluctably from the fact that

“[t]he First Amendment limits Congress; Congress does not limit the First Amendment.” United

States v. Weiss, 475 F. Supp. 3d 1015, 1035 n.9 (N.D. Cal. 2020).

          Accordingly, the “best understanding” of the integral-speech exception is this: “When

speech tends to cause, attempts to cause, or makes a threat to cause some illegal conduct (illegal

conduct other than the speech itself)—such as murder, fights, restraint of trade, child sexual

abuse, discriminatory refusal to hire, and the like—this opens the door to possible restrictions on

such speech.” Speech Integral at 986–87. In this view, the integral-speech exception “should be

seen less as a single exception than as a guide to generating other exceptions” which themselves

must be defined “separately and narrowly, to protect potentially valuable speech.” Id. at 987.

          Here, the integral-speech exception “opens the door” to the recognition that, while the

political-intimidation statutes’ use of the terms “conspire,” “threaten” and “intimidate” implies

conduct typically carried out by means of speech, such conduct warrants no First Amendment

protection. Granting Constitutional protection to the statutorily proscribed acts of political

intimidation in the guise of “speech” would render the government incapable of carrying out its

functions, including its core democratic function of protecting the ability of all eligible citizens

to engage freely and without coercion in the democratic process, whether by voting or by

supporting and advocating for candidates. As the history of these statutes demonstrates,

throughout much of our national existence it has been government policy to allow white-

supremacist terrorism to prevail over the democratic rights of minorities, particularly in the

South. It took a bloody Civil War and a hard-fought Civil Rights movement to end that policy

and to establish the government’s democracy-protecting function as a fundamental attribute of,


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and justification for, federal power. The political-intimidation statutes were part and parcel of

that revolution. And, like the Brandenburg incitement and true-threat exceptions, the exception

for historically unprotected speech integral to political intimidation is defined “separately and

narrowly, to protect potentially valuable speech.” Speech Integral at 987. It takes the precise

shape of the conduct proscribed by long-standing political-intimidation statutes and is therefore

inherently incapable of escaping its narrow confines and affecting speech that is otherwise

protected.

          Amici therefore urge the Court to hold that speech integral to the types of political

intimidation barred by these statutes falls squarely within the historically unprotected category of

speech integral to a crime or tort. It is true that the Supreme Court has disclaimed any

“freewheeling authority to declare new categories of speech outside the scope of the First

Amendment,” at least where such declarations are based solely on a “highly manipulable

balancing” of “the value of the speech against its societal costs.” United States v. Stevens, 559

U.S. 460, 470, 471, 472 (2010) (invalidating federal statute banning animal-cruelty depictions).

But the ban on speech integral to political intimidation is anything but “new.” There are at least

two compelling reasons to conclude that the approach suggested here is properly “grounded” in a

“previously recognized, long-established category of unprotected speech.” Id. at 471.

          First, the statutes defining and proscribing political intimidation are themselves

“historical,” as they date back as far as 1871—after the Civil War, when the nation was

effectively re-established on new constitutional principles. Reconstruction historian Eric Foner

has written that the changes wrought by the Thirteenth, Fourteenth, and Fifteenth Amendments

were “[s]o profound . . . that the amendments should be seen not simply as an alteration of an

existing structure but as a ‘second founding,’ a ‘constitutional revolution,’ . . . that created a

fundamentally new document with a new definition of both the status of blacks and the rights of

all Americans.” ERIC FONER, THE SECOND FOUNDING: HOW THE CIVIL WAR AND

RECONSTRUCTION REMADE THE CONSTITUTION xx (2019). It may therefore be said that these




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prohibitions date all the way back to the nation’s constitutional “re-founding”; yet they have

weathered those 150 years without encountering significant First Amendment obstacles.

          Second, the Supreme Court has long afforded Reconstruction-era civil-rights statutes “a

sweep as broad as their language.” Griffin v. Breckenridge, 403 U.S. 88, 97 (1972) (citing United

States v. Price, 383 U.S. 787, 801 (1966), and Jones v. Alfred H. Mayer Co., 392 U.S. 409, 437

(1968)). Recognizing this, the D.C. Circuit has observed that “§ 1985(1) is not a narrow and

limited remedy but rather a statute cast in general language of broad applicability and unlimited

duration,” and that the overall scope of § 1985 has been called “enormous.” Spagnola v. Mathis,

809 F.2d 16, 29 (D.C. Cir. 1986), on reh’g, 859 F.2d 223 (D.C. Cir. 1988). Courts never would

have adopted these maximalist interpretations of the political-intimidation statutes had they

harbored concerns that those statutes infringe upon protected speech. Instead, they would have

applied the constitutional-avoidance canon to trim those statutes back.15 But they haven’t done
so.

          Applying the integral-speech exception disposes of the defendants’ First Amendment

defenses to § 1985(1) liability in this case, while also ensuring the continued efficacy of the other

political-intimidation statutes. To the extent that the political-intimidation statutes implicate

speech, they do so mainly with respect to speech that “tends to cause, attempts to cause, or

makes a threat to cause . . . illegal conduct other than the speech itself.” Speech Integral at 186–

87. In the case of § 1985(1), the “other illegal conduct” that the affected speech tends to cause,

attempts to cause, or makes a threat to cause, is the use of coercion (physical or non-physical) to

(1) “prevent . . . any person from accepting or holding any [federal] office . . . or from

discharging any duties thereof”; (2) “induce . . . any [federal] officer . . . to leave [the locale]

where his duties as an officer are required to be performed”; (3) “injure [a federal officer] in his

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  “Under the constitutional-avoidance canon, when statutory language is susceptible of multiple
interpretations, a court may shun an interpretation that raises serious constitutional doubts and
instead may adopt an alternative that avoids those problems.” Jennings v. Rodriguez, 138 S. Ct.
830, 836 (2018).




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person or property on account of his lawful discharge of the duties of his office”; or (4) “injure [a

federal officer’s] property so as to . . . impede him in the discharge of his official duties.”

          The First Amendment presents no obstacle to Congress’s prohibition of this plainly

illegal conduct. Like other conspiracy statutes, § 1985(1) does not proscribe speech as such,

except insofar as speech is employed to effectuate an agreement to take unlawful action.

Certainly, the statute targets no identifiable political or social viewpoint. Rather, § 1985(1)

requires plaintiffs to allege, “[a]mong other things, . . . the elements of civil conspiracy,

including . . . an agreement to take part in an unlawful action or a lawful action in an unlawful

manner.” Barr v. Clinton, 370 F.3d 1196, 1200 (D.C. Cir. 2004).

          Moreover, § 1985(1)’s purpose is the “[p]rotection of federal officials from force,

intimidation, threat, or injury at the hands of those who would disrupt, obstruct, or prevent the

formulation and execution of federal functions[.]” Stern, 547 F.2d at 1338. As such, the statute is

“but a necessary incident of sovereignty. It is akin to the inherent governmental ‘power of self-

protection’ which has been consistently recognized in other contexts, . . . and it advances the

important federal interest in the effective operation of government.” Id. Congress’s power to

invoke this “necessary incident of sovereignty” cannot be doubted.16
          And § 1985(1) is by no means the only statute that bars coercive conduct aimed at

impeding the federal government—even when that conduct involves speech. For example, 18

U.S.C. § 1505 makes anyone guilty of a crime who “corruptly, or by threats or force, or by any

threatening letter or communication . . . endeavors to influence, obstruct, or impede the due and

proper administration of the law under which any pending proceeding is being had before any

department or agency of the United States . . . .” Section 1505 sweeps more broadly than the

true-threat exception: One court has held that § 1505 is violated when a threat to a government

16
  The foregoing discussion also shows why it would be pointless for the Court to grant
defendant Trump’s circular request that it “recognize [that] § 1985 only regulates conspiracies
where there is an agreement to perform an overt act extending beyond protected political
speech.” Protected political speech is, by definition, protected. By contrast, speech integral to
political intimidation has been historically unprotected, and it is the only type of speech that
§ 1985(1) affects.


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agent is communicated to an intermediary with the intent to obstruct or impede an agency

proceeding—whether or not the defendant intended the intermediary to pass the threat on to the

agent. See United States v. Price, 951 F.2d 1028 (9th Cir. 1991). By contrast, under the true-

threat exception, the threat must be communicated to the victim “with the intent of placing the

victim in fear of bodily harm or death.” Virginia v. Black, 538 U.S. at 360.

          With respect to § 1985(1), however, the cases do reveal one exception-to-the-exception:

When a public official alleges a conspiracy to use defamatory speech to hound them out of office

or otherwise hinder their performance of their duties, the defendant must be permitted to invoke

the First Amendment-based protections of the New York Times v. Sullivan doctrine.17 See Barr,
370 F.3d at 1202–03; Windsor v. The Tennessean, 719 F.2d 155, 162 (6th Cir. 1983). Such

claims really are not § 1985(1) claims at all, but defamation claims disguised as something else

in order to evade the constitutional limitations that New York Times v. Sullivan places on

defamation claims. Allowing that end-run to succeed would transform § 1985(1) into a vehicle

by which individual federal officials could effectively squelch criticisms of their job performance

or their fitness for office—a result far removed from the intentions of the Reconstruction-era

drafters.18

          The other political-intimidation statutes fare equally well under an integral-speech

analysis because—like § 1985(1)—to the extent that they affect speech, it’s mainly speech that

tends to cause, attempts to cause, or makes a threat to cause plainly illegal conduct other than the

speech itself. As for § 1985(3), that “other illegal conduct” is the use of coercion to “prevent . . .

any citizen who is lawfully entitled to vote, from giving his support or advocacy in a legal

manner” to a candidate in a federal election. The relevant “other illegal conduct” targeted by


17
   See N.Y. Times Co. v. Sullivan, 376 U.S. 254, 279–80 (1964) (holding that a public official
cannot recover “damages for a defamatory falsehood relating to his official conduct unless he
proves that the statement was made with ‘actual malice’—that is, with knowledge that it was
false or with reckless disregard of whether it was false or not.”).
18
   The defendants in the January 6 Suits have not made, and thus have waived, any argument
based on this holding in Barr or Windsor.


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§ 131(b) is the use of coercion to “interfer[e] with the right of [another] person to vote or to vote

as he may choose" in a federal election. And the “other illegal conduct” targeted by § 11(b) is

coercive interference with (1) “voting or attempting to vote,” (2) “urging or aiding any person to

vote or attempt to vote,” or (3) “exercising any powers or duties under” specified statutes that

facilitate voting.19

          The historically grounded integral-speech exception thus preserves the effectiveness of

our nation’s hard-won political-intimidation statutes while giving due regard to free-speech

principles. Accordingly, amici urge that, besides considering the incitement and true-threat

exceptions, the Court should hold that the First Amendment does not protect speech integral to

the forms of political intimidation proscribed by § 1985(1).

          D.     The integral-speech exception furnishes additional grounds for rejecting the
                 defendants’ overbreadth and vagueness assertions.
          Applying the integral-speech exception also disposes of defendants’ undeveloped, ipse
dixit assertions that, after 150 years in existence, § 1985(1) now should be found to be both

overbroad and vague.

          “[T]here are substantial social costs created by the overbreadth doctrine when it blocks

application of a law to constitutionally unprotected speech, or especially to constitutionally

unprotected conduct.” Virginia v. Hicks, 539 U.S. 113, 119 (2003) (emphasis in original); accord
Broadrick v. Oklahoma, 413 U.S. 601, 615 (1973). The overbreadth doctrine’s applicability

“attenuates as the otherwise unprotected behavior” that a defendant seeks to protect under the


19
   An alternative to the historically grounded categorical exception urged here would involve
applying the O’Brien intermediate-scrutiny test. Under that framework, one would first have to
establish that the political-intimidation statutes are “content neutral” and then show that they
withstand First Amendment scrutiny because they (1) are “within the constitutional power of the
Government” and (2) “further[] an important or substantial governmental interest” that is (3)
“unrelated to the suppression of free expression” and that (4) “the incidental restriction on
alleged First Amendment freedoms is not greater than is essential to the furtherance of that
interest.” United States v. O’Brien, 391 U.S. 367, 376 (1968). Here, however, there is simply no
First Amendment freedom to engage in speech integral to the forms of political intimidation that
these statutes proscribe. Thus, there is no First Amendment freedom capable of being restricted,
even incidentally. Accordingly, we venture no opinion on whether the plaintiffs’ § 1985(1)
claims would pass muster under O’Brien intermediate scrutiny.


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doctrine “moves from ‘pure speech’ toward conduct and that conduct—even if expressive—falls

within the scope of otherwise valid criminal laws that reflect legitimate state interests in

maintaining comprehensive controls over harmful, constitutionally unprotected conduct.” Id. “To

ensure that these costs do not swallow the social benefits of declaring a law ‘overbroad,’” the

Supreme Court has “insisted that a law’s application to protected speech be ‘substantial,’ not

only in an absolute sense, but also relative to the scope of the law’s plainly legitimate

applications before applying the ‘strong medicine’ of overbreadth invalidation.” Hicks, 539 U.S.

at 119–20 (quoting Broadrick, 413 U.S. at 613).

          To the extent that they affect speech, the political-intimidation statutes mainly affect

unprotected speech integral to political intimidation, which is itself a species of unprotected

conduct. Accordingly, defendants cannot establish that § 1985(1) is “substantially” overbroad,

either in any “absolute sense” or “relative to the scope of the law’s plainly legitimate

applications.” Hicks, 539 U.S. at 120. Rather, here, as in Hicks, “[n]either the basis for

the . . . sanction . . . nor its purpose . . . has anything to do with the First Amendment.” Id. at 123.

Thus, this is at most “the paradigmatic case of a . . . statute whose legitimate reach dwarfs its

arguably impermissible applications.” Ferber, 458 U.S. at 773.

          The integral-speech exception also helps dispose of the defendants’ vagueness challenge.

“[P]erhaps the most important factor affecting the clarity that the Constitution demands of a law

is whether it threatens to inhibit the exercise of constitutionally protected rights.” Vill. of

Hoffman Estates. v. Flipside, Hoffman Estates, Inc., 455 U.S. 489, 499 (1982). There is an even

higher burden for proving vagueness where, as here, a statute is not directed to protected speech

but instead to conduct or unprotected speech. See id. at 496, 499 (“The ordinance is expressly

directed at commercial activity promoting or encouraging illegal drug use. If that activity is

deemed ‘speech,’ then it is speech proposing an illegal transaction, which a government may

regulate or ban entirely.”). Here, the political-intimidation statutes are not directed to protected

speech but instead to conduct and unprotected speech. No vagueness challenge could succeed




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here, even if the defendants had identified which aspect of the statute they deem vague—which

they have not done.

IV.       CONCLUSION
          For all the reasons stated above, when ruling on the defendants’ purported First

Amendment defenses to the plaintiffs’ § 1985(1) claims, the Court should hold that the First

Amendment does not protect, and historically has not protected, speech integral to the forms of

political intimidation proscribed by § 1985(1). Such a ruling will not only accord with applicable

law but also will preserve the efficacy of the political-intimidation statutes on which the health of

our democracy depends.


                                                   Respectfully submitted,

                                                   KEKER, VAN NEST & PETERS LLP

Dated: July 8, 2021

                                            By:    /s/ Steven A. Hirsch
                                                   STEVEN A. HIRSCH


                                                   /s/ Nic Marais
                                                   NIC MARAIS
                                                   Counsel of Record


                                                   STEVEN A. HIRSCH
                                                   NIC MARAIS
                                                   MATAN SHACHAM
                                                   Keker, Van Nest & Peters LLP
                                                   633 Battery Street
                                                   San Francisco, CA 94111-1809
                                                   Telephone: 415 391 5400
                                                   Facsimile: 415 397 7188

                                                   Attorneys for Amici Curiae Floyd Abrams,
                                                   Erwin Chemerinsky, Martha Minow, and
                                                   Laurence H. Tribe




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                                   CERTIFICATE OF SERVICE

          I certify that on July 8, 2021, a copy of the foregoing was filed with the Clerk using the

Court’s CM/ECF system, which will send a copy to all counsel of record.


                                                  /s/ Nic Marais
                                                  NIC MARAIS
                                                  Keker, Van Nest & Peters LLP
                                                  633 Battery Street
                                                  San Francisco, CA 94111-1809
                                                  Telephone: 415 391 5400
                                                  Facsimile: 415 397 7188
                                                  nmarais@keker.com




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1714974
